      Case 3:19-mj-24312-AGS-WQH Document 48 Filed 10/16/20 PageID.405 Page 1 of 2
AO 245B (CASDRev. 08/14) Judgment in a Petty Criminal Case


                                   UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                         V.                                        (For Offenses Committed On or After November 1, 1987)
               Eduardo MARIN-SALIDO
                                                                      Case Number:         19MJ24312-AGS

                                                                   Mark F. Adams, CJA
                                                                   Defendant’s Attorney
REGISTRATION NO.              91289298


The Defendant:
☐ pleaded guilty to count(s)

☒ was found guilty on count(s)          1 OF THE COMPLAINT
     after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                    Nature of Offense                                                                Number(s)
8 USC 1325 (a)(1)                  ATTEMPTED IMPROPER ENTRY BY AN ALIEN                                                1
                                   (MISDEMEANOR)




    The defendant is sentenced is provided on page 2 of this judgment


☒ The defendant has been found not guilty on count(s)         1 OF THE COMPLAINT

☐ Count(s)                                                    are Dismissed without prejudice on the motion of the United States.

     Assessment :   WAIVED
☒


☒ No fine                    ☐ Forfeiture pursuant to order filed                                             , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any
material change in the defendant’s economic circumstances.

                                                                   October 16, 2020
                                                                   Date of Imposition of Sentence



                                                                   HON. ANDREW G. SCHOPLER
                                                                   UNITED STATES MAGISTRATE JUDGE


                                                                                                               19MJ24312-AGS
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DEFENDANT:               Eduardo MARIN-SALIDO                                                     Judgment - Page 2 of 2
CASE NUMBER:             19MJ24312-AGS

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
TIME SERVED (11 DAYS)




☐     Sentence imposed pursuant to Title 8 USC Section 1326(b).
☐     The court makes the following recommendations to the Bureau of Prisons:




☐     The defendant is remanded to the custody of the United States Marshal.

☐     The defendant shall surrender to the United States Marshal for this district:
      ☐     at                             A.M.              on
      ☐     as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
☐
      Prisons:
      ☐     on or before
      ☐     as notified by the United States Marshal.
      ☐     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

      Defendant delivered on                                            to

at                                       , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL




                                                                                                    19MJ24312-AGS
